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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Matthew Kaufrinder, et al.
                                       Plaintiff,
v.                                                       Case No.: 1:16−cv−02622
                                                         Honorable Elaine E. Bucklo
Anselmo Lindberg Oliver LLC
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 3, 2016:


       MINUTE entry before the Honorable Elaine E. Bucklo: Motion to stay [19] is
granted; Status hearing to set scheduling order is set for 7/29/2016 at 09:30 AM. Parties
may call the courtroom deputy if the Court of Appeals has not ruled by the status date.
Mailed notice (reg)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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